THE COURT.
The petition herein, although filed as an original petition for writ of mandate, is in reality an amended and supplemental petition filed after this court had denied the original petition for the writ. (Civil No. 8180, Brock v. Superior Court, ante,
p. 5 [5 P.2d 659].) [1] The only difference between the two petitions is that instead of the original paragraph IV thereof, there has been substituted a new paragraph IV, which sets out a new order of the superior court alleged to have been made nunc pro tunc on the tenth day of December, 1931, in place of the order contained in the former petition. There is nothing to show affirmatively, either by way of recital or otherwise, that the nunc pro tunc order of December 10, 1931, was made for the sole purpose of correcting a clerical error in the original order which the court had made.
The petition for writ of mandate is again denied.